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                       IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF DELAWARE


ANTHONY A. NASH                                       :
                                                      : C.A. No. 16-00896-GMS
                               Plaintiff,             :
                                                      :
        v.                                            : TRIAL BY A JURY OF TWELVE
                                                      : DEMANDED
                                                      :
CONNECTIONS COMMUNITY SUPPORT
                                                      :
PROGRAMS, INC., et al.
                                                      :
                                                      :
                               Defendant.             :


 CONNECTIONS COMMUNITY SUPPORT PROGRAM, INC.’S RESPONSE TO THE
PLAINTIFF’S MOTION FOR A PHYSICAL AND MENTAL HEALTH EXAMINATION

        In this lawsuit the Plaintiff Anthony Nash alleges that Connections Community Support

Programs, Inc. and its medical and dental staff manifested a deliberate indifference to his dental

hygiene, which caused an infection that ultimately lead to the extraction of some of his teeth.

(See Fifth Am. Compl., D.I. 83) In addition to his constitutional based claims, Mr. Nash asserts

state tort law claims of dental negligence, medical negligence, and intentional infliction of

emotional distress. (See id.). In his motion for a Physical/Mental Health Examination, Mr. Nash

seeks to invoke Rule 35 of the Federal Rules of Civil Procedure in order to obtain medical care

and/or an expert. Plaintiff’s motion must fail because there is no basis under Rule 35 to order a

physical and mental health examination as requested by Mr. Nash and because plaintiff is not

entitled to a court appointed expert.

        Mr. Nash concedes in his complaint, and the medical records show, that he has received

treatment for his conditions. (See id.) However, he is dissatisfied with the treatment and alleges




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that it is inadequate.1 (See id.) Generally, claims that dispute the adequacy of treatment require

expert testimony to support that claim. That is especially true when the treatment at issue is

outside the ken of a lay person. See Pearson v. Prison Health Serv., 850 F.3d 526, 536 (3d Cir.

2017). Here, the crux of Mr. Nash’s claim is that although his oral infections were treated, it was

the lack of preventative dental care over a relatively short period of time that caused the

infections to develop and prompted the need for extractions. Whether or not a failure to provide

routine teeth cleanings and fillings can lead to the extraction of teeth cannot be objectively

evaluated by a layperson.           Likewise, Mr. Nash is required to provide expert testimony to

establish his medical and dental negligence claims. 18 Del. C. § 6853(e); Wagner v. Bethany

Dental Assocs., 2010 Del. Super. LEXIS 4858, *1-2 (Del. Super. Jan. 22, 2010); Spencer v.

Goodill, 2009 Del. Super. LEXIS 446 (Del. Super. Dec. 4, 2009). Thus, to establish his claims

he needs experts, which he does not have.

         To obtain these necessary expert opinions Mr. Nash submitted a motion pursuant to Rule

35 of the Federal Rules of Civil Procedure that requests that this Court order that he undergo a

physical and mental health examination. (See Pl. Mot. for Physical and Mental Examination at,

D.I. 151 (“Plaintiff seeks to corroborate his allegations with an experts [sic] report.”)) Under

Rule 35 of the Federal Rules of Civil Procedure, the Court “may order a party whose mental or

physical condition . . . is in controversy to submit to a physical or mental examination by a

suitably licensed or certified examination.” Fed. R. Civ. P. 35(a)(1). The party seeking the

examination must “specify the time, place, manner, conditions, and scope of examination, as

well as the person or person who will perform it.” Id. 35(a)(2)(B).


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  Mr. Nash’s claim of deliberate indifference is premised on a disagreement over his treatment. It is well-established
that when a prisoner “receive[s] some medical attention and the dispute is over the adequacy of the treatment” he
pleads a state medical negligence claim, which is insufficient to state a claim of deliberate indifference. See United
States ex rel. Walker v. Fayette Cnty., 599 F.2d 573, 575 n.2 (3d Cir. 1979) (citation omitted).

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        This is not a situation where Rule 35 applies. Indeed, that rule is triggered when a

physical or mental examination of a party is sought by an “opposing party.” Flakes v. Frank,

2005 U.S. Dist. 8723, at *3 (W.D. Wis. May 6, 2005) (emphasis in original). None of the

defendants in this case have requested that Mr. Nash submit to a physical examination. Thus,

Mr. Nash cannot invoke Rule 35 as the authority for this Court to compel that he undergoes a

physical or mental exam.2

        As previously stated, this is a veiled attempt by Mr. Nash to obtain a sorely needed expert

opinion. A pro se plaintiff, however, is not entitled to a court-appointed expert at the public’s

expense. See Boring v. Kozakiewicz, 833 F.2d 468, 474 (3d Cir. 1987); Devary v. Desrosiers,

2013 U.S. Dist. LEXIS 135260, at *3-4 (D. Del. Sept. 19, 2013). Accordingly, Mr. Nash’s

motion must be denied.

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  And, even if Rule 35 applied, Mr. Nash did not specify the type (or types) of exam he seeks, the medical
professional that would perform the exams, or when and where it would occur as required under Rule 35(a)(2)(B).

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